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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

NICOLE JENNINGS WADE,          )
JONATHAN D. GRUNBERG, and      )
G. TAYLOR WILSON               )
                               )
               Plaintiffs,     )
                               )             CIVIL ACTION
v.                             )
                               )
L. LIN WOOD,                   )             FILE NO. 1:22-CV-01073
                               )
               Defendant.      )
______________________________ )

       AMENDED NOTICE TO TAKE VIDEOTAPED DEPOSITION

To:   Andrew M. Beal, Esq.
      Buckley Beal LLP
      600 Peachtree Street, NE
      Suite 3900
      Atlanta, GA 30308

      Please take notice that at 10:00 a.m. EST on Tuesday, November 1, 2022, at

the State Bar of Georgia, 104 Marietta Street NW, Atlanta, GA 30303, counsel for

the Defendant, will take the deposition of Plaintiff, NICOLE JENNINGS WADE,

for all purposes under the Georgia Civil Practice Act, including discovery and cross-

examination. The deposition will be taken before a videographer and a certified court

reporter. The deposition noticed hereunder will be taken pursuant to O.C.G.A. § 9-

11-26 and O.C.G.A. § 9-11-30. All parties are invited to attend and examine the

witness.
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     This 26th day of October, 2022.
                                       Respectfully submitted,

                                       DOWNEY & CLEVELAND, LLP

                                       By: /s/ R. CHRISTOPHER HARRISON
                                              R. CHRISTOPHER HARRISON
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                                       L. LIN WOOD, P.C.

                                       By:_/s/ L. LIN WOOD
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                                       REYES LAWYERS, P.A.


                                       By:/s/ IBRAHIM REYES
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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D) of the Northern District of Georgia, I hereby

certify that this pleading has been prepared in compliance with Local Rule 5.1(C)

using 14-point Times New Roman Font.

                                     Respectfully submitted,

                                     DOWNEY & CLEVELAND, LLP


                                     By: __/s/ R. Christopher Harrison
                                           R. CHRISTOPHER HARRISON
                                           Georgia State Bar No. 333199
                                           harrison@downeycleveland.com
                                           Attorneys for Defendant
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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day served the following counsel of record

with a true and correct copy of the foregoing pleading via electronic service and/or

by depositing said copy in the United States Mail, with sufficient postage affixed

thereon, and properly addressed to the following:

      Andrew M. Beal, Esq.
      Buckley Beal LLP
      600 Peachtree Street, NE
      Suite 3900
      Atlanta, GA 30308

      This 26th day of October, 2022.

                                        DOWNEY & CLEVELAND, LLP


                                        By: __/s/ R. Christopher Harrison
                                              R. CHRISTOPHER HARRISON
                                              Georgia State Bar No. 333199
